106 F.3d 394
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ramachandran VARADARAJAN, Plaintiff-Appellant,v.Juan Antonio SAMARANCH;  Richard Ponnd;  James Easton;Anita Meneide;  Etienne Gliechiten;  Leroy T. Walker;William Payne;  Els Van Breda Rriesman;  Rana Valaquaz;Peter Porritt, Defendants-Appellees.
    No. 96-2244.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 31, 1996.Decided Jan. 23, 1997.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Leonie M. Brinkema, District Judge.  (CA-96-1066-A)
      Ramachandran Varadarajan, Appellant Pro Se.
      Before HALL, WILKINS, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his action alleging libel, slander, attempted murder, illegal immigration practices, and harassment.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Varadarajan v. Samaranch, No. CA-96-1066-A (E.D.Va. Aug. 7, 1996).  We deny Appellant's Motion for Order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    